        Case 1:12-cv-12324-MLW Document 494 Filed 01/30/19 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

_______________________________________
SECURITIES AND EXCHANGE                 )
COMMISSION,                             )
                      Plaintiff         )           Civil Action No. 12-12324-MLW
                                        )
v.                                      )
                                        )
BIOCHEMICS, INC., JOHN J. MASIZ,        )
CRAIG MEDOFF                            )
 and GREGORY S KRONING,                 )
                                        )
                      Defendants        )
______________________________________ )


       STATEMENT OF CHAPTER 7 TRUSTEE OF INPELLIS, INC. REGARDING
   RELIEF FROM STAY REQUESTED BY ADEC PRIVATE EQUITY INVESTMENTS, LLC

       John J. Aquino, the duly appointed trustee (the “Trustee”) of the Chapter 7 bankruptcy

estate of Inpellis, Inc. (the “Inpellis” or Debtor”), hereby submits this statement regarding the

Motion For Relief From Stay Of Litigation (the “Stay Relief Motion”) filed herein on behalf of

ADEC Private Equity Investments, LLC (“ADEC”), and respectfully states as follows:

       1. Inpellis was formed in or about March 2012 under Delaware law as a wholly-owned

subsidiary of the defendant Biochemics, Inc. (“Biochemics”). In or about January 2015,

Biochemics transferred all of its shares in Inpellis to the Shareholder Resolution Trust, a

settlement trust purportedly established to resolve controversies among Biochemics shareholders

relating to certain actions of Biochemics.

       2. On July 26, 2018, ADEC and certain affiliated entities and persons filed an

involuntary Chapter 7 bankruptcy petition against Inpellis in the U.S. Bankruptcy Court for the

District of Massachusetts (Case No. 18-12844-JNF). An order for relief under Chapter 7 of the

Bankruptcy Code was entered on November 1, 2018. On November 5, 2018, the Trustee was
           Case 1:12-cv-12324-MLW Document 494 Filed 01/30/19 Page 2 of 4



appointed as the Chapter 7 trustee of the Inpellis bankruptcy estate and he continues to serve in

such capacity.

          3. In the Stay Relief Motion, ADEC suggests that the litigation it seeks to pursue against

certain individuals and entities does not violate the litigation stay contained in the Order

Appointing Receiver. To the extent that this Court determines otherwise, ADEC alternatively

requests relief from the stay to allow it to pursue “individual claims” against what ADEC

considers to be “non-receivership parties and assets”.

          4. The Trustee has previously advised ADEC that he believes that certain of the claims

referenced in the Stay Relief Motion (and further described in Exhibit A thereto) likely

constituted assets of the Inpellis Chapter 7 bankruptcy estate and, thus, would be subject to the

automatic stay currently in force in the Inpellis bankruptcy case. For example, ADEC makes

numerous references to claims relating to “conversion”, “converting ADEC’s investment in

Inpellis”, and “breach of fiduciary duty”1. The Trustee believes that in many instances, the

“conversion” of assets referenced in the Stay Relief Motion and in Exhibit A relate to assets

formerly belonging to Inpellis, and any rights to recovery constitute assets of the bankruptcy

estate. Moreover, the Trustee firmly believes that the “breaches of fiduciary duty” alleged in the

Stay Relief Motion and Exhibit A are claims belonging exclusively to the Inpellis bankruptcy

estate.

          5. In response to the Trustee’s concerns, ADEC appears to have acknowledged in

communications to the Trustee that any claims for conversion of proceeds of ADEC’s investment

in Inpellis are property of the bankruptcy estate. ADEC has also acknowledged that the Trustee

1See,e.g., introductory paragraph of Motion together with numbered paragraphs 11, 19, and 28 thereof; Exhibit A,
pages 2, 3, 3,11, and 29.

                                                        2
         Case 1:12-cv-12324-MLW Document 494 Filed 01/30/19 Page 3 of 4



has the “sole right to pursue fiduciaries and former fiduciaries of [Inpellis] for breaches of their

fiduciary duties of care, good faith and loyalty owed to Inpellis”. Notwithstanding such

acknowledgment, ADEC maintains its belief that it possesses direct claims against individuals

for breaches of fiduciary duties arising in connection with the issuance of the Original Issue

Discount Convertible Note (the “Note”). The Note was issued by Inpellis and was executed by

persons acting on behalf of Inpellis. The Trustee does not agree with ADEC’s conclusion that

the terms of the Note gave rise to a direct and distinct fiduciary obligation owed to ADEC, but

rather believes that any such breach of fiduciary duty claims are derivative claims which are the

exclusive property of the bankruptcy estate.

       6. Independent of any determination that the actions and proposed litigation by ADEC

violate the stay issued by this honorable Court, the Trustee believes that many of the potential

claims referenced in the Stay Relief Motion constitute property of the Inpellis bankruptcy estate

and, as such, certain of the actions proposed by ADEC are stayed by operation of law in the

bankruptcy proceeding.

                                               JOHN J. AQUINO
                                               CHAPTER 7 TRUSTEE

                                               By his counsel,

                                               /s/ Donald F. Farrell, Jr.
                                               Donald F. Farrell, Jr. (BBO 159580)
                                               ANDERSON AQUINO LLP
                                               240 Lewis Wharf
                                               Boston, MA 02110
                                               617-723-3600
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Dated: January 30, 2019.


                                                  3
         Case 1:12-cv-12324-MLW Document 494 Filed 01/30/19 Page 4 of 4




                                   CERTIFICATE OF SERVICE

        I, Donald F. Farrell, Jr., do hereby certify that on this 30th day of January, 2019, a copy of
the Statement Of Chapter 7 Trustee Of Inpellis, Inc. Regarding Relief From Stay Requested By
ADEC Private Equity Investments, LLC was served electronically to the registered participants as
identified on the Notice of Electronic Filing through the CM/ECF filing system.


                                                      /s/ Donald F. Farrell, Jr.
                                                      Donald F. Farrell, Jr. (BBO 159580)




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